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 1   VIVIAN I. ORLANDO (SBN 213833)
     vorlando@hinshawlaw.com
 2   Hinshaw & Culbertson LLP
     350 South Grand Ave. Suite 3600
 3   Los Angeles, CA 90071-3476
     Telephone: 213-680-2800
 4   Facsimile: 213-614-7399
 5   THOMAS F.A. HETHERINGTON*
     tom.hetherington@mhllp.com
 6   JARRETT E. GANER*
     jarrett.ganer@mhllp.com
 7   HUTSON B. SMELLEY*
     hutson.smelley@mhllp.com
 8   ERIN E. BENNETT*
     erin.bennett@mhllp.com
 9   MCDOWELL HETHERINGTON LLP
     1001 Fannin Street, Suite 2700
10   Houston, TX 77002
     Telephone: 713-337-5580
11   Facsimile: 713-337-8850
     *Admitted Pro Hac Vice
12
     Attorneys for Defendant
13   TRANSAMERICA LIFE INSURANCE COMPANY
14
15
16                          UNITED STATES DISTRICT COURT

17                        CENTRAL DISTRICT OF CALIFORNIA

18   GAIL THOMPSON, et al.,                                Case No. 2:18-CV-05422 CAS (GJSx)
                                                           (Honorable Christina A. Snyder )
19                Plaintiffs,
                                                           CLASS ACTION
20         vs.
                                                           DEFENDANT TRANSAMERICA
21   TRANSAMERICA LIFE INSURANCE                           LIFE INSURANCE COMPANY’S
     COMPANY,                                              MEMORANDUM OF POINTS
22                                                         AND AUTHORITIES IN
                  Defendant.                               OPPOSITION TO OBJECTIONS
23                                                         TO THE PROPOSED
                                                           SETTLEMENT
24
                                                           Hearing Date: August 31, 2020
25
                                                           Time: 10:00 a.m.
26                                                         Court: Courtroom 8D
27
                                                           First Am. Compl. Filed: May 8, 2019
28

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 1                                         INTRODUCTION
 2         Defendant Transamerica Life Insurance Company (“TLIC”) submits this
 3   Memorandum of Points and Authorities in response to the three objections to the
 4   proposed settlement submitted by non-class members Levi Katz and Angela Terry
 5   (ECF 164), class members John and Philomena Vitale (ECF 165), and class
 6   member the Sher Family Trust (ECF 166).
 7         This litigation was filed against TLIC on behalf of a putative class that
 8   includes owners of active and terminated TransUltra 115 and TransSurvivor 115
 9   universal life insurance policies (the “Policies”)1 that permit TLIC to adjust the
10   insurance rates, referred to in the policies as Monthly Deduction Rates (“MDRs”),
11   which are used to determine the Monthly Deductions (“MDs”) taken from each
12   policy’s Accumulation Value. TLIC increased the MDR schedule used to determine
13   MDs on TransUltra 115 Policies in 2017 and on TransSurvivor 115 Policies in
14   2018. After engaging in extensive motion practice and discovery, the parties
15   reached a proposed settlement (ECF 143-1), which was preliminarily approval by
16   the court (ECF 151).2
17         The first of the three objections (ECF 164) is a brazen attempt by a
18   professional objectors’ attorney Stephen J. Fearon, Jr. (“Fearon”), to extract
19   unearned attorneys’ fees, and is filed on behalf of life settlement investor Mr. Katz,
20   apparently as manager of Peck Et Al Policy Holdings LLC (“Peck”), and another
21
           1
22           Exemplars of the TransUltra 115 and TransSurvivor 115 Policies are
     attached as Exhibit 3 (ECF No. 117-3) and Exhibit 4 (ECF No. 1170-4) to the
23   Declaration of Andy Friedman (ECF No. 117) in Support of Notice of Motion and
     Motion to Certify Class. Exhibit 3 is cited herein as “TransUltra Policy” and
24   Exhibit 4 is cited herein as “TransSurvivor Policy.” The key difference between the
     two types of Policies is that TransUltra 115 Policies insure one life while
25   TransSurvivor 115 Policies insure two lives and pay death benefits only after both
26   insureds die. See TransUltra Policy at Page ID#2 of 51; TransSurvivor Policy at
     Page ID#2 of 43.
           2
27           All capitalized terms not specifically defined herein have the meaning
     defined within the Policies or the Settlement Agreement (ECF No. 143-1).
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 1   individual, Ms. Terry, who has filed a separate lawsuit against TLIC in Iowa.
 2   Neither Mr. Katz, nor Peck, nor Ms. Terry are Settlement Class Members, and as
 3   such, lack standing to object to the Settlement. Moreover, most of their objections
 4   simply rehash the same meritless objections that their Fearon raised and later
 5   abandoned in Feller v. Transamerica Life Ins. Co., Case No. 16-cv-01378-CAS-
 6   GJS (C.D. Cal.) (hereafter “Feller”). The Court should overrule their objections.
 7         The second objection (ECF 165) filed by the Vitales does not address the
 8   merits of the proposed settlement. Rather, it appears that many years ago the
 9   Vitales became involved in an investment scheme that somehow culminated in their
10   ownership of a TLIC policy insuring an unrelated third-party. After allowing the
11   policy to lapse in 2017, the Vitales were unable to reinstate coverage due to the
12   insurability status of the third-party insured. To the extent the Vitales’ complaints
13   even relate to the subject matter of this lawsuit, these individualized issues do not
14   impact the overall fairness or adequacy of the proposed settlement. As such, this
15   objection should be overruled.
16         Finally, the third objection (ECF 166), filed by the Sher Family Trust,
17   exemplify TLIC’s arguments below regarding individualized damages. The Sher
18   Family Trust owns a policy with an active secondary guarantee that largely
19   insulates it from being impacted in any way by an MDR increase. So while the
20   Sher Family Trust claims that it will not benefit from the settlement’s credit to
21   accumulation value, reductions to the Accumulation Value were the only potential
22   adverse impact to the Policy resulting from the challenged MDR increases. The
23   balance of the Sher Family Trust’s objection focuses on complaints regarding
24   TLIC’s customer service. Though TLIC strongly disagrees with the Sher Family
25   Trust’s allegations, this topic is completely irrelevant to the claims asserted in this
26   litigation or the settlement thereof. Thus, this objection should be overruled.
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 1                                    FACTUAL BACKGROUND
 2   I.    The Life Insurance Policies, Litigation, and the Settlement
 3         A.     The Policies Are TransUltra 115 and TransSurvivor 115
 4                Adjustable Rate Flexible Premium Universal Life Policies.

 5         This case involves TransUltra 115 and TransSurvivor 115 universal life
 6   insurance policies that were subject to MDR increases implemented by TLIC in
 7   2017 and 2018 (the “MDR Increases”). Each Policy gives its owner flexibility in
 8   the premiums they pay so long as certain minimums are met. The premiums paid
 9   are applied to a Policy’s Accumulation Value, which is guaranteed to earn interest
10   at no less than a minimum rate set in the Policies. See TransUltra Policy at Page
11   ID#18 of 51; TransSurvivor Policy at Page ID#20 of 43. Each month, TLIC
12   deducts a MD from the Accumulation Value. See TransUltra Policy at Page ID#17-
13   18 of 51; TransSurvivor Policy at Page ID#19-20 of 43. The MD is calculated by
14   multiplying the MDR for that policy year by the difference between the death
15   benefit and the Accumulation Value, plus any applicable fees. See TransUltra
16   Policy at Page ID#18-19 of 51; TransSurvivor Policy at Page ID#20-21 of 43.
17         Each Policy contains a table or schedule of guaranteed MDRs, which shows
18   the maximum MDR that can be charged in any given policy year. See TransUltra
19   Policy at Page ID#5 of 51; TransSurvivor Policy at Page ID#5 of 43. When a
20   Policy is issued, there is a “current” MDR schedule that is actually used to calculate
21   the MDs with rates set at or below the guaranteed MDRs. Subject to certain
22   contractual restrictions, the Policies broadly permit TLIC to adjust MDRs so long
23   as the rates charged do not exceed the guaranteed MDR for a given year. See
24   TransUltra Policy at Page ID#18-19 of 51; TransSurvivor Policy at Page ID#20 of
25   43.
26         MDRs generally increase each year, so that as the insured ages, the required
27   MDs increase. This year-over-year increase in MDRs occurs separate and apart
28   from what is challenged in this lawsuit, which was a global prospective increase to
                                                    3
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 1   the MDRs on the schedule used to determine MDs.
 2         B.     Most Class Policies Include an Endorsement That Guarantees
 3                Coverage If Fixed Level Premium Requirements Are Satisfied.

 4         Policy performance varies based on how a policyowner funds premiums into
 5   the Policy, the credited interest rates, and the MDRs. When a Policy is purchased,
 6   an illustration is provided that includes a projection of how the Policy is guaranteed
 7   to perform assuming the policyowner’s planned premiums are paid—essentially a
 8   worst-case scenario based on the maximum MDRs and minimum credited interest.
 9   The illustration also shows how the Policy would perform at the then-current
10   credited interest rates and the then current MDR schedule, but this projection is not
11   guaranteed. The illustrations advise that performance will likely vary and it may
12   become necessary for the policyowner to pay additional premiums in the future to
13   maintain the coverage.
14         Most of the Class Policies include an endorsement called the Endorsement to
15   Modify Grace Period, also referred to as the Assured Coverage Endorsement or
16   “ACE,” which provides the policyowners a way to remove the uncertainty of the
17   future performance of their Policies. See TransSurvivor Policy at Page ID#38-39 of
18   43 (attaching the two-page ACE); Declaration of Aliza Klau (“Klau Decl.”), ¶ 7.
19   The ACE was designed to ensure coverage remains in place for a set period of time
20   (the “Select Period”) so long as a fixed periodic premium (the “Select Monthly
21   Premium”)3 is paid, there are no outstanding Policy loans, or withdrawals or partial
22   surrenders in excess of stated limits, and death benefit option 1 (the policy face
23   amount as its death benefit)4 is selected. If the Accumulation Value is insufficient
24
           3
              The “Select Period” and “Select Monthly Premium” are defined terms in
25   the ACE. See TransSurvivor Policy at Page ID#38 of 43.
            4
26            The Policies permitted the purchaser to elect one of three available death
     benefit options. Generally speaking, Option 1 is the face amount of the Policy,
27   Option 2 is the face amount of the Policy plus its Accumulation Value, and Option
     3 is the face amount of the Policy plus a return of premiums. See TransUltra Policy
28   at Page ID#11 of 51; TransSurvivor Policy at Page ID#14-15 of 43.
                                                    4
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 1   to cover a MD, or even if the Accumulation Value is zero, the ACE ensures the
 2   Policy will not enter the grace period and thus will not lapse during the Select
 3   Period. In contrast, for the Policies without the ACE or where the ACE is not
 4   active because the policyowner has not satisfied the ACE criteria, if the
 5   Accumulation Value on a Policy decreases to a point that it will not cover the MDs,
 6   the policyowner must increase the premiums or the Policy will go into the grace
 7   period and lapse.
 8         For each Policy with the ACE, the Policy data pages specify both the Select
 9   Period and the Select Monthly Premium required. See Klau Decl., ¶ 8 & Ex. D, at
10   p. 88-89. Generally speaking, for TransUltra policies, the Select Period extends
11   until the insured reaches age 100. Id. For TransSurvivor policies, the Select Period
12   extends until the youngest of the two insureds reaches age 100. Id. By way of
13   example, for the TransSurvivor 115 Policy insuring Linda and Stanley Sher, the
14   Select Period is 39 years (until the younger Linda Sher would be 100) and the
15   Select Monthly Premiums is $3,332.78. Id. ¶ 18 & Ex. D, at p. 54.
16         The ACE protects against the need to ever pay increased premiums to
17   maintain coverage, even if the MDR schedules are increased or only the minimum
18   credited interest is being earned.
19         C.      In 2017 and 2018, TLIC Implemented MDR Increases on
20                 TransUltra 115 and TransSurvivor 115 Policies.

21         In 2017, TLIC approved a 58% MDR increase over the then-current MDR
22   schedule for the 1998 and 1999 versions of the TransUltra 115 Policies and began
23   implementing the increase on Policy anniversaries in October 2017. Klau Decl., ¶
24   4.
25         In 2018, TLIC approved a one-time 47% MDR increase over then-current
26   MDR schedule for the 1997 version of the TransSurvivor 115 Policies. Id. ¶ 5.
27   TLIC approved three consecutive, compounding 39% increases over the then
28   current MDR schedule for the 1998 and 1999 versions of the TransSurvivor 115
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 1   Policies. Id. ¶ 6. The MDR increases for the TransSurvivor 115 Policies were
 2   implemented on Policy anniversaries beginning in June 2018. Id. ¶¶ 5-6.
 3         D.      The Litigation and Settlement
 4         The Complaint was filed on June 18, 2018 and the parties engaged in
 5   substantial briefing and discovery for nearly two years. As detailed more
 6   extensively in the Settlement Agreement (ECF 143-1), Plaintiffs and TLIC
 7   negotiated an arms’ length settlement that provides each side with benefits and
 8   required each side to make compromises. Throughout this litigation, TLIC has
 9   consistently maintained that its actions were permitted under the Policies, and that
10   Plaintiffs’ claims are without merit. TLIC also maintained that this Court lacked
11   personal jurisdiction over it with respect to claims asserted on behalf of non-
12   California putative class members.
13         Additionally, had briefing been completed on Plaintiffs’ now mooted motion
14   for class certification (ECF 107), TLIC would have asserted what it believes to be
15   strong arguments against class certification. Principal among these would have
16   been the highly individualized issues related to the impact (or lack thereof) of an
17   MDR increase on Policies with an ACE provision. The settlement reached by the
18   parties reflects an acknowledgment of the inherent uncertainty and risks associated
19   with continued litigation, including the risk of denial of class certification, and does
20   not represent a windfall for either side. It is a fair and reasonable compromise.
21   II.   Counsel for Katz and Terry Tries to Repeat the Same Pattern of
           Obstruction as in Feller, but without Class Members as Clients.
22
           Fearon, counsel for the Katz and Terry Objectors,5 makes a business of filing
23
     copycat lawsuits and later objecting to proposed class action settlements in the first-
24
     filed suit. See, e.g., Emerson v. Sentry Life Ins. Co., Case Nos. 18-cv-379-jdp, 18-
25
26         5
             TLIC refers to the objector for Policy No. 60049627 as the “Katz Objector”
27   to follow the verbiage used in the Fearon Objections, ECF No. 164 (hereafter
     “Fearon Obj.”), which confusingly oscillates between referring to the objector as
28   Katz and as Peck, the LLC that Katz allegedly manages.
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 1   cv-254-jdp, 2018 WL 4380988, *1-3 (W.D. Wis. Sept. 14, 2018) (staying
 2   duplicative insurance case filed by Fearon pending resolution of the earlier case);
 3   Final Order Approving Plaintiffs’ Motion for Final Certification of Settlement
 4   Class and Final Approval of Proposed Nationwide Class Settlement Agreement, ¶
 5   8, Feller, ECF No. 444 (noting that Fearon filed an objection “on behalf of two
 6   plaintiffs in duplicative lawsuits Fearon filed in the Northern District of Iowa . . .
 7   long after Feller commenced”). In Feller, as this Court is aware, Fearon moved to
 8   intervene asking the Court to reconsider its order granting preliminary approval of
 9   the proposed class action settlement. Feller, ECF No. 411. After the motion was
10   denied, Fearon’s clients objected to the proposed settlement and noticed their intent
11   to appear at the Final Fairness Hearing. Id., ECF No. 424. Their objections to the
12   Feller settlement were later withdrawn at the Fairness Hearing with this Court’s
13   approval. Id., ECF No. 444, ¶ 8. The impetus for the Katz and Terry Objections to
14   the Thompson settlement follows the same pattern.
15         On April 18, 2019, Fearon filed the first of two lawsuits in the Northern
16   District of Iowa relating to the 2017 and 2018 MDR Increases. Shupe v.
17   Transamerica Life Ins. Co., Case No. 19-cv-000945 (N.D. Iowa). Shupe was filed
18   as a putative class action 10 months after Thompson. See Shupe, ECF No. 1.
19   Shupe brought claims on behalf of both in-force and terminated TransUltra 115
20   policyowners subject to the 2017 MDR increase – alleging that her claims were
21   typical of all putative class members. Id., ¶¶ 117, 120. Accordingly, TLIC moved
22   to stay Shupe in favor of the first-filed Thompson. Id., ECF Nos. 7, 28. In granting
23   TLIC’s motion to stay as to Shupe’s class allegations, the court explained:
24        Shupe’s complaint in relevant part mirrors the Thompson complaint
          and Shupe filed motions for preliminary injunction and class
25        certification a mere 43 days after filing her complaint, and a day after
26        [TLIC] filed its motion to stay. Shupe’s counsel likely anticipated the
          motion to stay, as counsel has been unsuccessful on numerous other
27        occasions in proceeding with duplicative class-action suits.
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 1   Id., ECF No. 28, at 6 (citations omitted).
 2         On October 23, 2019 Fearon filed Terry v. Transamerica Life Ins. Co., Case
 3   No. 19-cv-00118 (N.D. Iowa)—approximately one month after the Thompson
 4   plaintiffs filed their motion for class certification on both in-force and terminated
 5   policy classes. Terry, ECF No. 1; Thompson, ECF No. 107. The Terry case is set
 6   for trial on September 6, 2021, following Terry’s July 2, 2020 motion for an
 7   extension of the case schedule in advance of a then-upcoming expert disclosure
 8   deadline. Terry, ECF No. 22. The case has not progressed far. The parties
 9   exchanged initial written discovery, but Terry’s central focus has been to obtain
10   unredacted copies of the Thompson class certification briefing and expert
11   declarations rather than any substantive documents relating to her claims. See
12   Declaration of Erin E. Bennett (“Bennett Decl.”), ¶ 3. And despite noting that
13   TLIC declined to consent to dismissal of Terry without prejudice, which was only
14   requested in a misguided effort to remove an impediment to objecting here, Terry
15   has not yet moved to dismiss the Iowa case. See id., ¶ 4.
16         A.      Objector Katz is not a Settlement Class Member.
17         Levi Katz objects to the Settlement as the Managing Member of Peck Et Al
18   Policy Holdings, LLC (“Peck”), asserting that Globalstar 11 Holdings LLC
19   assigned ownership of Policy No. 60049627 to Peck in 2020. Fearon Obj. at 1, 3.
20   But based on Katz’s own factual recitation, Peck is not a Settlement Class Member.
21   The Settlement Class is defined to include all persons or entities (with certain
22   exceptions) who own or owned a Policy as of the Policy Status Date (i.e.,
23   December 31, 2019).6 Accordingly, under the Settlement, Globalstar 11 Holdings
24   LLC is the defined Settlement Class Member for this Policy. Katz provides no
25   evidence as to whether Globalstar’s assignment to Peck included all legal claims
26   relating to Policy No. 60049627.
27
           6
               Thompson, ECF No. 143-1, Page ID 16602-04.
28
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 1          Peck is a life settlement investor. Fearon Obj. at 3. Like most life settlement
 2   investors who minimally fund their policies, Peck did not pay the Select Monthly
 3   Premium need to keep what Peck calls the “No-Lapse Guarantee” (i.e., the ACE) in
 4   effect. Id. Katz does not allege that Peck ever intends to pay the Select Premium in
 5   the future.
 6          B.     Objector Terry is not a Settlement Class Member.
 7          Terry is a California resident who, according to TLIC’s records, serves as the
 8   trustee of a trust that owned Policy No. 60057155. Terry, ECF No. 1, ¶¶ 11, 41;
 9   Klau Decl., ¶ 12 (stating that TLIC’s records reflect that Terry was the trustee for
10   Policy No. 60057155). In 2019, TLIC notified Terry of an MDR increase on Policy
11   No. 60057155. Klau Decl., ¶ 14 & Ex. B. Terry surrendered Policy No. 60057155
12   in return for $123,931.47. See id. ¶¶ 15-16 & Ex. C.
13          Further, Terry premises her objection on Policy No. 60060573, but Terry is
14   not the authorized trustee for this policy. See id. ¶ 17. Terry was removed as
15   trustee for Policy No. 60060573 in 2002. Id. Instead, TLIC’s records show that a
16   different trustee is the trustee of record for Policy No. 60060573. Id. Accordingly,
17   Terry is not authorized to make any decisions relating to Policy No. 60060573. The
18   authorized trustee for Policy No. 60060573 has not filed an objection to the
19   Settlement. Bennett Decl., ¶ 5.
20          Compounding the fact that Terry lacks authority to object on behalf of Policy
21   No. 60060573, Terry filed and still maintains a pending lawsuit against TLIC in the
22   Northern District of Iowa. Id. ¶ 4. As such, under Paragraphs 60(e) and 61 of the
23   Settlement, Terry is not a Settlement Class Member. Thompson, ECF No. 143-1,
24   Page ID 16603-04.
25   III.   The Vitales and the Sher Family Trust are Class Members Whose
26          Objections Present Individualized Issues

27          In contrast to the Katz and Terry Objectors, John and Philomena Vitale and
28   the Sher Family Trust are class members. But their objections present highly
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 1   individualized issues. The Vitales allegedly obtained a policy insuring a third-party
 2   through an investment connected to an entity that was apparently engaged in
 3   fraudulent business practices. The Vitales allowed this policy to lapse following
 4   the MDR increase, but they do not allege an overt connection between the MDR
 5   increase and the lapse and do not substantively challenge the Settlement. The Sher
 6   Family Trust has active ACE protection, and despite the trustee and insured
 7   evidently being upset by the MDR increases’ impact on the policy’s Accumulation
 8   Value, they do not address how the Sher Family Trust has actually suffered any
 9   economic loss as a result of the MDR increase or explained why the Settlement is
10   unfair or inadequate to the Settlement Class as a whole.
11                                            ARGUMENT
12   I.    Katz and Terry Lack Standing to Object to the Settlement Because They
           Are Not Settlement Class Members, and Even if they were, Their
13         Objections Mostly Recycle the Meritless Objections Raised In Feller.
14         The Court should overrule Katz and Terry’s Objections because (A) they
15   lack standing to object to the Settlement as they are not Settlement Class Members,
16   and (B) they offer most of the same objections to the Thompson Settlement that
17   Fearon later dropped in Feller, and they misrepresent the Settlement Class
18   Members’ ability to obtain their estimated Settlement Relief. None of their
19   objections demonstrate that the Settlement is unfair, unreasonable, or inadequate.
20   To the contrary, their objections highlight the procedural gamesmanship Fearon
21   employs to disrupt hard-fought resolutions of class settlements. Their objections
22   should be overruled.
23         A.     Neither Katz nor Terry Have Standing to Object to the Settlement
                  Because They Are Not Settlement Class Members.
24
25         Katz and Terry are not Settlement Class Members. Under the plain text of
26   Federal Rule of Civil Procedure 23 and well-established law, only members of the
27   settlement class may pose objections to a class action settlement. Fed. R. Civ. P.
28   23(e)(5) (A) (“Any class member may object to the proposal if it requires court
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 1   approval under this subdivision (e).”); see also In re First Capital Holdings Corp.
 2   Fin. Prods. Sec. Litig., 33 F.3d 29, 30 (9th Cir. 1994); Feder v. Electronic Data
 3   Systems Corp., 248 Fed. Appx. 579, 580 (5th Cir. 2007) (“[A]s a general rule, only
 4   class members have standing to object to a proposed settlement.”). Because neither
 5   Katz nor Terry is a Settlement Class Member, they lack standing to challenge the
 6   Settlement and their objections should be overruled.
 7         Katz’s objection is filed on behalf of Peck. Katz states that Peck was
 8   assigned ownership of Policy No. 60049627 in 2020. Fearon Obj. at 3. Under the
 9   Settlement, Settlement Class Members are limited to persons or entities who own or
10   owned a Policy as of December 31, 2019. Thompson, ECF No. 143-1, Page ID
11   16602-04. Accordingly, Peck is not a Settlement Class Member, and Katz lacks
12   standing to object on Peck’s behalf. Katz’s objections should be overruled.7
13         Terry lacks standing for two reasons. First, Terry improperly ties her
14   objection to Policy No. 60060573 for which she has no authority to act because
15   Terry was removed as an authorized trustee for this policy in 2002. See Klau Decl.,
16   ¶ 17. The authorized trustee did not object or opt out of the Settlement. Terry’s
17   objections should be overruled on this basis alone.
18         Second, Terry is not a Settlement Class Member because she is a plaintiff in
19   a lawsuit pending in the Northern District of Iowa, and as such, is excluded from
20   the Settlement Class Member definition. Thompson, ECF No. 143-1, Page ID
21   16603-04 (excluding “those Policyowners challenging either or both of the MDR
22   Increases in any pending or resolved lawsuit against TLIC other than the Action”);
23   Bennett Decl. ¶ 4 (noting that Terry has not yet moved to dismiss her Iowa action).
24   Nevertheless, Terry argues that the parties’ exclusion of parallel litigants from the
25   Settlement Class definition was somehow improper and designed to shield the
26         7
             TLIC objects to capacity in which Katz files his objections to the extent
27   Katz does so as the Managing Member rather than as the Peck LLC. Fed. R. Civ. P.
     17; N.J. Stat. Ann. § 42:2C-68 (declining to permit a member to bring an LLC’s
28   claims in his own name).
                                                    11
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 1   “unfair and inadequate” Settlement from scrutiny. Fearon Obj. at 5-6. But it was
 2   Terry who indicated her intent to forge her own path when she chose to file an
 3   individual action against TLIC in Iowa. At the time she filed suit, her counsel was
 4   well aware that the Thompson Plaintiffs had filed a motion for class certification
 5   that excluded policyowners with pending lawsuits against TLIC. Thompson, ECF
 6   No. 142, at Page ID 16563. Yet, she filed suit anyway. That Terry’s sole purpose
 7   in discovery in her Iowa case was to seek the unredacted Thompson class
 8   certification briefing and related expert declarations underscores the absurdity of
 9   this objection.
10         B.      Katz and Terry’s Objections Largely Assert the Same Objections
                   That Fearon Abandoned in Feller.
11
12         Repeating recycled arguments from his objector playbook, Fearon on behalf
13   of Katz and Terry object to the Settlement because: (1) the parties purportedly
14   failed to provide sufficient information for the Court to determine the
15   reasonableness of the settlement; (2) the Class Notice supposedly should have
16   provided an estimate of the proposed Settlement Relief; (3) the Settlement is
17   purportedly unfair to Terminated Policyowners and Policyowners who do not
18   maintain the ACE; (4) the Court lacks jurisdiction under Bristol-Meyers Squibb v.
19   Superior Court, 137 S. Ct. 1773 (2017); (5) the Settlement does not offer
20   reinstatement to Terminated Policyowners; (6) the Settlement permits the MDR
21   Increases to go forward; and (7) the Settlement supposedly permits TLIC to
22   recapture the Settlement Relief (among others objections directed to the Class
23   Representatives or Class Counsel that TLIC does not address here). TLIC
24   addresses each objection in turn below.
25                 1.      Katz and Terry Object to the Settlement Claiming That the
                           Court Needs Additional Information, but the Court Has
26                         Sufficient Details to Judge the Settlement’s Fairness.
27
28
                                                     12
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 1         As in Feller, Katz and Terry object to the Settlement by claiming that the
 2   parties are withholding information that the Court needs to know to determine the
 3   reasonableness of the Settlement. This is not true. The Court has adequate
 4   information – the same as it did in Feller – to meaningfully evaluate the
 5   reasonableness of the Settlement. Katz and Terry argue, however, that the Court
 6   needs additional metrics relating to the total number and face amounts of the In-
 7   Force and Terminated Policies, and projections of TLIC’s future MDs. But none of
 8   these metrics are necessary for the Court to evaluate the Settlement. The salient
 9   facts relate to the past and future Settlement Relief provided to the Class. Class
10   Counsel has disclosed that Settlement Class Members will receive a large
11   percentage return of past additional MDs that TLIC collected as a result of the 2017
12   and 2018 MDR Increases (or the $200 minimum) and that In-Force and Terminated
13   Policyowners are treated consistently under the Settlement. As to future Settlement
14   Relief, Settlement Class Members receive the benefit of a seven-year moratorium
15   on additional MDR increases. This is sufficient information on which to judge the
16   compromise the Settlement reflects.
17         Instead, Katz and Terry seek data relating to the face amounts of the In-Force
18   and Terminated Policies and TLIC’s total projected future collections for the sole
19   purpose of contriving an inflated damage number that finds no basis in reality.
20   Katz and Terry do not cite any authority for their contention that the measure of
21   recoverable damages in this case could ever be the face amount of either In-Force
22   or Terminated Policies. Comparing face amounts between policyowners who are
23   benefitting from the ACE and those who are not provides no plausible measure of
24   damage or settlement value tied to any issue in this case. Which of those policies
25   will remain in force or will be paid out as death claims is unknown. Plus, Katz and
26   Terry’s proffered damages construct fails to account for TLIC’s costs in providing
27   coverage. Likewise, using face amount to value the damages or potential
28   settlement value for Terminated Policies is entirely speculative. Policyowners may
                                                    13
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 1   choose to lapse or surrender their policies for any number of reasons unrelated to an
 2   MDR increase. The same holds true for the total amount of TLIC’s future MD
 3   collections given that TLIC is contractually authorized to raise MDRs.
 4         This objection has no merit and should be overruled.
 5                2.      Katz Mistakenly Claims That the Estimated Settlement
 6                        Relief Was Not Available to the Class, Where the
                          Information Was In-Face Available, and the Class Notice
 7                        Was Adequate.
 8         Katz and Terry object to the Class Notice, arguing that it is inadequate
 9   because it fails to provide an estimate of each individual Class Member’s
10   Settlement Relief or an illustration as was provided in Feller. Their objection is
11   premised on Katz’s contact with the Settlement Administrator, Rust Consulting
12   LLC (“Rust”), which allegedly refused to provide Katz with the estimated amount
13   of the proposed Settlement Relief for his Policy. Katz’s extrapolation of his unique
14   circumstance to the entire Class is inappropriate and misrepresents the information
15   available to Settlement Class Members.
16         Just as in Feller, TLIC provided estimated proposed Settlement Relief to
17   Rust to provide to Settlement Class Members upon request after the Class Notice
18   was mailed. See Supplemental Declaration of Jason Stinehart (“Stinehart Decl.),
19   ¶ 10; Klau Decl., ¶ 9. Regrettably, when Katz contacted Rust for an estimate of the
20   Settlement Relief, he was told that the amount of his Settlement Relief could not be
21   provided until after the Final Approval Hearing. See Stinehart Decl., ¶ 8.
22   However, the Rust representative should have informed Katz that the policyowner
23   as of December 31, 2019 possessed the right to participate in the Settlement. Id.
24         Notably, Katz does not indicate in his Objection that he or Fearon contacted
25   Co-Lead Class Counsel for an estimate of the Settlement Relief – an action taken
26   by the Sher Family Trust. Nor did Fearon contact TLIC’s counsel with whom he is
27   actively litigating the Shupe and Terry cases in Iowa, and upon whom he served
28
                                                    14
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 1   written discovery seeking a list of the cases excluded from the Settlement and other
 2   class certification-related documents. Bennett Decl., ¶ 3. Nevertheless, there do
 3   not appear to have been any other instances in which Rust representatives were
 4   unable to provide the estimated Settlement Relief when requested. Stinehart Decl.,
 5   ¶ 11.
 6           Separately, and though it was not required by the Settlement, TLIC prepared
 7   its illustration software to provide illustrations depicting potential future policy
 8   performance with and without the Settlement Relief. Klau Decl., ¶ 10. TLIC
 9   provided approximately 20 settlement illustrations. Id. ¶ 11. Mr. Katz did not
10   request such an illustration. Stinehart Decl., ¶ 8.
11           Accordingly, Katz and Terry’s contrived objection to the adequacy of the
12   Class Notice should be overruled.
13                  3.      Katz and Terry Fail to Demonstrate That the Settlement is
                            Unfair to Terminated Policyowners and Policyowners Who
14
                            Do Not Maintain the ACE.
15           Just as Fearon’s clients argued in Feller, Katz and Terry argue that the
16   Settlement “heavily disfavors Terminated Policyowners” and also argue that the
17   Settlement provides Settlement Relief “to In-Force No-Lapse Guarantee
18   Policyowners who will not economically benefit.” Fearon Obj. at 13. Neither
19   objection warrants disapproval of the Settlement.
20           First, Katz and Terry first take aim at the alleged “disproportionate” recovery
21   for Terminated Policyowners on the grounds that the percentage relief for
22   Terminated Policyowners “pales in comparison” to the amount of recovery for the
23   In-Force Policies or TLIC’s alleged “windfall” in not paying death benefits to the
24   Terminated Policyowners. Id. at 15. Beyond being premised on a speculative
25   settlement value tied to an irrelevant face amount metric, Katz and Terry ignore that
26   the Terminated Policyowners are receiving fair compensation tied to the claims
27   alleged in the Complaint – either a return of the additional MDs paid as a result of
28
                                                      15
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 1   the MDR Increases or the minimum $200 settlement amount. If the Terminated
 2   Policies paid more in additional MDs then TLIC would have paid more into the
 3   Terminated Policies Settlement Common Fund. It would not be fair for
 4   policyowners like Terry – who surrendered her policy for a six-figure sum – to
 5   obtain the face value of her policy while In-Force Policyowners who diligently paid
 6   premiums recover pro-rata additional MDs must continue paying premiums to
 7   receive death benefits. TLIC would never have agreed to such a preposterous
 8   settlement structure. Moreover, Katz and Terry cite no legal authority permitting
 9   recovery of a policy’s face amount for a dispute involving in-force policy charges,
10   particularly where the Policies permit TLIC to raise MDRs and TLIC has not raised
11   MDRs as much as it could have.
12             Second, Katz and Terry argue that the Settlement fails to provide a
13   meaningful benefit to the Policies with an active ACE. Neither Katz nor Terry own
14   a policy with an ACE in effect, and therefore, they lack standing to assert this
15   objection. But even if Katz or Terry had standing to pursue this objection, it still
16   falls flat. All In-Force Polices receive the same relief – a deposit of funds into their
17   Accumulation Value proportionate to their share of additional MDs deducted from
18   the Accumulation Value as a result of the MDR increase. To whatever extent that
19   active ACE policies may not benefit from an increase to Accumulation Value from
20   the Settlement to fund future MDs (because they have elected to pay the Select
21   Premium), they nevertheless benefit from the credit to the Accumulation Value
22   itself.
23             Therefore, this objection is meritless and should be overruled.
24                    4.      Katz and Terry Object to the Settlement by Claiming That
                              This Court Lacks Jurisdiction under Bristol-Myers Squibb,
25
                              but They Ignore That TLIC Has Consented to Jurisdiction
26                            for the Limited Purpose of the Settlement.
27             As Fearon did in Feller, Katz and Terry object to the Settlement by arguing
28   that this Court lacks jurisdiction over out-of-state class members’ claims under
                                                        16
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 1   Bristol-Meyers Squibb v. Superior Court, 137 S. Ct. 1773 (2017), in which the
 2   Supreme Court held that a California state court lacked specific jurisdiction over
 3   the claims of out-of-state plaintiffs in a mass action. Id. at 1781. On this basis,
 4   Katz and Terry argue that the Class Plaintiffs agreed to an unfair and inadequate
 5   Settlement rather than risk a loss on the jurisdictional argument or pursue the suit in
 6   Iowa, where TLIC maintains a home office. Obj. at 17. But Katz and Terry (a
 7   California resident) ignore that TLIC consented to this Court’s exercise of personal
 8   jurisdiction in order to resolve this dispute:
 9         TLIC’s consent to the Court’s exercise of personal jurisdiction is
           limited to the Action and is strictly made for the limited purpose of
10         implementing this nationwide class Settlement. TLIC’s consent to
           jurisdiction shall not operate as a waiver in any other litigation. In the
11         event this Settlement Agreement is terminated in accordance with
12         Section XII or if the Final Settlement Date is not attained for any
           reason, TLIC’s consent to the Court’s exercise of personal jurisdiction
13         will be considered withdrawn.
14   Settlement Agreement, ECF No. 143-1, ¶ 122. Though TLIC believes that
15   the holding of Bristol-Meyers Squibb applies with equal force to class
16   actions, there is a dispositive difference between asserting an argument when
17   one is haled into an out-of-state court at the outset of a class action versus
18   when one consents to a jurisdiction to facilitate that class action’s resolution.
19         Because Katz and Terry’s objection under Bristol-Myers Squibb stems
20   from jurisdictional gamesmanship, this objection should be overruled.
21                5.     Katz and Terry Object to the Settlement Because It Does
                         Not Offer Reinstatement, but Extracontractual
22                       Reinstatement Options Were Never a Realistic Settlement
                         Demand.
23         Again raising objections that their counsel ultimately dropped in Feller, Katz
24   and Terry argue that the “lack of reinstatement options is another unfair aspect of
25   the Settlement.” Fearon Obj. at 19. This objection ignores that the Policies already
26   have reinstatement rights – which Terry gave up when she voluntarily surrendered
27   her policy – and that TLIC is unwilling to provide a blanket, guaranteed
28
                                                     17
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 1   “reinstatement option” on a class-wide basis that would rewrite the Policies’
 2   contractual provisions. Nor, to TLIC’s counsels’ awareness, have any other
 3   insurers provided unlimited reinstatement options in any MDR-related class
 4   settlement.
 5         First, the Policies already provide reinstatement rights for lapsed (not
 6   surrendered) Policies. The Settlement does not affect the Settlement Class
 7   Members’ currently existing contractual reinstatement rights. Terry’s policy, for
 8   example, provided that the policy may be reinstated “provided it was not
 9   surrendered” within 3 years of the lapse subject to meeting certain conditions
10   including the insurability standards. See Klau Decl., ¶ 13 and Ex. A, at p. 19-20.
11   Terry chose to surrender her policy, giving up reinstatement rights in exchange for
12   a six-figure surrender value. Id., ¶¶ 15-16 and Ex. C. Accordingly, she has no
13   grounds to object to that the Settlement does not provide a reinstatement option.
14   Likewise, the Katz policy remains in force and he has not provided any evidence
15   that his policy’s reinstatement rights could not be exercised in the event that the
16   policy lapses.
17         Second, what Katz and Terry propose would rewrite the Policies to require
18   TLIC to permit reinstatements even where insureds do not meet TLIC’s standards
19   for insurability. TLIC is unwilling to agree to provide blanket “reinstatement
20   options” in a class settlement that differ from the pre-existing reinstatement rights
21   in the Policies. TLIC is not unique among insurers in this respect. Though Katz
22   and Terry claim that “[r]einstatement provisions are common in class-wide
23   settlements in this type of litigation” (Fearon Obj. at 18), counsel for TLIC is
24   unaware of any modern COI/MDR-related settlement in which an insurer agreed to
25   reinstatement rights beyond the line of Conseco cases cited by Katz and Terry. Id.
26   (citing Yue v. Conseco Life Ins. Co., No. 11-cv-09506-DSF-SH (C.D. Cal.), In re
27   Conseco Life Ins. Co. Cost of Ins. Litig., MDL No. 10:1610-AHM (C.D. Cal.)).
28
                                                    18
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 1   And even those cases required terminated policyholders to comply with certain
 2   insurability requirements.
 3         This objection has no credible basis and should be rejected.
 4                6.      Katz and Terry Object to the Settlement Because it Permits
                          the MDR Increases to Go Forward, but It Is Undisputed
 5
                          That the Policies Permit TLIC to Raise MDRs.
 6         Katz and Terry next contend that the proposed Settlement is unreasonable
 7   and inadequate because it permits the 2017 and 2018 MDR Increases to remain in
 8   effect. Fearon Obj. at 19-21. According to Katz and Terry, the proposed
 9   Settlement should have provided injunctive relief reducing the amount of the
10   increases going forward. Id. 20-21. But this is not the deal that was struck, and for
11   good reason. As Terry admits in her complaint, the Policies authorize TLIC to
12   increase MDRs subject to the guaranteed maximum MDRs and based on TLIC’s
13   future expectations of cost factors. Terry, ECF No. 1, ¶¶ 27-29. Had Class
14   Plaintiffs not agreed to permit the increases to go forward, TLIC could have simply
15   introduced a new MDR increase to address the latest rounds of Plaintiffs’ esoteric
16   actuarial criticisms. Instead, the parties negotiated a seven-year moratorium on
17   additional MDR increases – two years longer than the moratorium that TLIC
18   provided in Feller. This was a substantial benefit to the Class because, absent the
19   Settlement, additional MDR increases may have been warranted in the next seven
20   years. Moreover, the MDR Increases imposed are well below the guaranteed
21   maximum MDRs that TLIC is permitted to charge under the Policies.
22         This objection lacks merit and should be denied.
23                7.      Katz and Terry Argue That the Settlement Permits TLIC to
24                        Recapture the Settlement Relief, but It Does Not.
25          Following again the same pattern in Feller, the Katz and Terry argue that the
26   Settlement’s distribution method (i.e., payment of Settlement Relief via
27   Accumulation Value payments to In-Force Policies) permits TLIC to recapture the
28
                                                    19
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 1   Settlement Relief in contravention of Ninth Circuit law preventing reverter
 2   provisions and coupon settlements. Fearon Obj. at 21-24. Specifically, the Katz
 3   and Terry Objectors argue that the chosen distribution method provides no relief to
 4   the In-Force Policyowners electing to keep their ACE in effect, but neither Katz nor
 5   Terry fall into this category. Whether the Settlement Relief is distributed via
 6   Accumulation Value payment or check, the Settlement Relief provides
 7   policyowners with a credit to their Accumulation Value consistent with a pro-rata
 8   amount of the MDs debited as a result of the MDR increases – whether the ACE is
 9   in effect or not.
10          Katz and Terry also compare the Settlement’s distribution method to
11   disfavored “coupon” settlements, but it is not the same thing. In the context of
12   evaluating class fee awards, “a coupon is a discount on another product or service
13   offered by the defendant in the lawsuit.” Feury v. Richemont North America, Inc.,
14   No. C-05-4525 EMC, 2008 WL 3287154, *2 (N.D. Cal. Aug. 6, 2008). As support
15   for their argument, Katz and Terry cite True v. Am. Honda Motor Co., in which the
16   settlement class members would be provided a rebate on their next Honda purchase.
17   49 F. Supp. 2d 1052, 1060 (C.D. Cal. 2010)). But the Settlement does not provide
18   a rebate or discount to class members that is contingent on whether they elect to
19   buy another life insurance policy from TLIC. Every Settlement Class Member will
20   automatically have value credited to their existing Accumulation Value or receive a
21   check, without needing to purchase a new policy.
22          This objection is unfounded and should also be denied.
23   II.    The Vitales’ Objection Does Not Appear to Relate to the Subject Matter
            of the Litigation
24
            From the contents of the objection filed by John and Philomena Vitale (ECF
25
     165) and the attachments thereto, it appears that sometime in the late 1990s the
26
     Vitales invested money with an entity known as Empire State Financial Group
27
     (“Empire). Empire was apparently involved in the fraudulent procurement of life
28
                                                     20
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 1   insurance policies. ECF No. 170, at 1-2, 5-6. The first two policies the Vitales
 2   invested in were purportedly issued on the lives of terminally ill individuals, but these
 3   policies were either cancelled by the insurers or lapsed due to non-payment of
 4   premiums by Empire. To make up for this, at some point Empire apparently assigned
 5   the Vitals the rights to TLIC policy number 000060102914, which insures unrelated
 6   third-party Sid Marcus. ECF 170-1, at 4-5. After missing a premium payment
 7   required to restore the ACE protection, the policy lapsed on December 23, 2017. ECF
 8   170-2, at 4-6. The policy did not qualify for reinstatement because Mr. Marcus did
 9   not meet TLIC’s insurability requirements. ECF No. 170-3, at 5.
10          The Vitales do not raise any specific objection to the Settlement, and it is
11   unclear to what extent (if any) the Vitale’s take issue with the MDR increase or allege
12   that the lapse is somehow connected to the MDR increase. As such, the Vitales have
13   not demonstrated any reason why the Court should not approve the Settlement.
14   III.   The Sher Family Trust’s Objection Simply Demonstrates the
15          Individualized Issues That Could Have Precluded Class Certification

16          The objection filed the by the Sher Family Trust by and through its trustee
17   Stuart Brafman and its grantor Stanley Sher is without merit. Mr. Sher and his
18   spouse Linda are jointly insured by TLIC policy number 00060051266 (the “Sher
19   Policy”). The Sher Family Trust’s objections to the settlement are based on
20   fundamental misunderstanding of how the Sher Policy functions. Although its
21   Accumulation Value was adversely affected by the challenged MDR Increases, the
22   Sher Family Trust has the ability under its policy’s ACE provision to preserve the
23   policy in-force irrespective of those increases. The results of this type of
24   individualized inquiry demonstrate why class certification would have been far
25   from certain in the absence of the Settlement Agreement. In any event, rather than
26   demonstrating that the Settlement is unfair or inadequate, the circumstances
27   surrounding the Sher Policy demonstrate why it was reasonable for Plaintiffs to
28   accept a compromise rather than continue litigating.
                                                     21
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 1         Also, the Sher Family Trust also appear to willfully misinterpret its
 2   representatives’ prior correspondence with TLIC and TLIC’s numerous attempts to
 3   emphasize the relevant policy features to the Sher Family Trust’s representative.
 4   TLIC disagrees with the Sher Family Trust’s assertions, and in any ebent its issues
 5   with TLIC’s customer service response are not relevant to the proposed Settlement.
 6         A.     The Sher Family Trust Avoided Adverse Impact From The MDR
 7                Increase

 8         The Policies impose one financial obligation on policyowners, which is to
 9   pay sufficient premiums to keep their Policies in force. The Policies provide them
10   corresponding property rights in the Policies, namely to collect the death benefits
11   and to surrender or borrow against the Accumulation Values. Before a policyowner
12   can be harmed, TLIC has to actually infringe on one of their three economic rights
13   in the Policies by (1) making them pay more premiums to sustain their Policy, (2)
14   not paying a death benefit because the Policy lapsed, or (3) not paying as much on a
15   requested surrender or loan as they were entitled to. While increased MDRs do
16   increase the MDs from policy Accumulation Values, this does not necessarily mean
17   the MDR Increase impacted the other economic options in the Policies.
18         Many policyowners (such as the Sher Family Trust) have chosen to pay a set
19   premium to exercise the ACE, which is designed to protect against uncertainties
20   like MDR increases that are inherent in adjustable rate universal life policies. Such
21   policyowners have elected to pay a fixed periodic premium in return for a
22   guaranteed death benefit to age 100 regardless of any future changes by TLIC to
23   nonguaranteed interest rates or MDRs and even if their policy Accumulation Values
24   become zero.
25         The Sher Family Trust has paid sufficient premiums to satisfy the ACE
26   provision.8 So long as it continues to pay the Select Monthly Premium, the Sher
27         8
            The Sher Policy’s designated $3,332.78 Select Monthly Premium
28   annualizes to approximately the $40,000 the Sher Family Trust has paid each year.
                                                    22
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 1   Policy will stay in effect. The Sher Family Trust acknowledged this fact in its very
 2   first correspondence with TLIC about the MDR Increase, stating
 3         The premiums under our policy are fixed. This is provided for in our policy
 4         by the “Endorsement to Modify Grace Period” which is part of our policy.
 5         Every illustration you have provided us as well as the initial disclosure shows
 6         no premium increases when the accumulation value is zero. (Attachment 1).
 7         We pay a “Select Monthly Premium,” an increase cost for this protection,
 8         which you call Assured Coverage Endorsement (ACE)
 9   ECF 166 at 16. While this assertion is not 100% accurate (premiums remain
10   flexible overall, and the Select Monthly Premium required to maintain the ACE is
11   fixed) the Sher Family Trust certainly understood the gist of the ACE protection—it
12   would not have to increase its premium payments to keep the policy in force even if
13   the Accumulation Value were zero. As a result, the Sher Family Trust was not
14   adversely impacted by the MDR Increase’s reduction to its Accumulation Value.
15         B.     The Sher Family Trust Misunderstands the MDR Increases
16         Much of the Sher Family Trust’s Objection is based upon a fundamental
17   misunderstanding of how its policy’s MDRs are set, how the MDR Increase was
18   implemented, and the ultimate impact (or lack thereof) of the Accumulation Value
19   on the death benefit provided.
20         The Sher Policy was issued in 1999, when the younger of the two insureds
21   was 61. The policy includes a schedule of guaranteed MDRs, which are generally
22   set to increase each year the policy is in force as the insureds age. Consistent with
23   the policy language, when the Sher Policy was issued, TLIC set a schedule of
24   MDRs (i.e. the ‘original’ MDRs) that were less than the guaranteed MDs and are
25   likewise generally set to increase each year. See Klau Decl., ¶ 2.
26         Starting in 2018, TLIC increased the MDRs on the Sher Policy by applying
27   three consecutive compounding annual increases of 39% against the MDR for the
28
                                                    23
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 1   corresponding year under the original MDR schedule, but keeping the amount of
 2   implemented MDR increases at or below the guaranteed rates. Id. ¶¶ 4-6.
 3            The Sher Family Trust appears to have misinterpreted the MDR Increase as
 4   having been applied against the prior year’s MDR, as opposed to the prior
 5   scheduled MDR. This misunderstanding is the root of the Sher Family Trust’s
 6   inability to replicate the increase percentages by referencing statements from prior
 7   years.
 8            Moreover, the Sher Family Trust has misinterpreted the timespan for which
 9   the already announced and enacted MDR increases were to apply. TLIC sent the
10   Sher Family Trust a notice in 2018 advising it that the MDR Increase would be
11   phased in starting with a 39% increase on its policy’s next anniversary date and
12   would be followed by compounding 39% increases on the 2019 and 2020 policy
13   anniversary dates. TLIC sent reminder notices in 2019 and 2020, ahead of the
14   second and third phases of TLIC’s already-announced MDR Increase. Under the
15   Settlement Agreement, these three phases of the MDR Increase are all encapsulated
16   by the “MDR schedules implemented through the MDR Increases” that will be
17   maintained going forward. So contrary to the Sher Family Trust’s consternations,
18   these are not new increases enacted by TLIC in some sort of clandestine effort to
19   recoup the Settlement proceeds. They are the increases the Parties have been
20   litigating about in this case for over two years.
21            Setting aside this misinterpretation, the substance of the Sher Family Trust’s
22   Objection is focused on a purported “damage model” showing the potential future
23   impact of the MDR Increase on the Accumulation Value. According to the Sher
24   Family Trust’s calculations, by 2029 (when the younger Sher insured would be 91),
25   the MDR Increases will “wipe out” the policy’s accumulation account. As
26   discussed above, this is irrelevant because the ACE would keep the policy in force
27   so long as the Sher Family Trust continues to pay the Select Monthly Premium (and
28   does not take an action that would remove the ACE protection such as changing the
                                                       24
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 1   death benefit option).
 2         Moreover, the fact that the Accumulation Value may eventually deplete
 3   (although the Sher Policy will remain in force so long as the Select Premiums are
 4   paid) was always a possibility known to the Sher Family Trust. When the Sher
 5   Policy was sold in 1999, an illustration signed by Mr. Sher showed what may
 6   happen under then current MDRs and credited interest rates (which were 6.15%),
 7   what may happen under guaranteed MDRs and credited interest rates, and what
 8   may happen at the midpoint between the two. See Klau Decl., ¶ 20 & Ex. E. The
 9   sales illustration shows the Accumulation Value was projected to become depleted
10   and the policy sustained by the ACE under both the guaranteed and midpoint
11   scenarios. More recent illustrations from 2016 (before the MDR Increase) and 2018
12   (after the MDR Increase) attached to the Sher Family Trust’s objection similarly
13   show the policy sustained by the ACE under different scenarios.
14          The bottom line is, unless and until the Sher Family Trust were to decide to
15   surrender the policy, take a loan from the Accumulation Value, or stop taking
16   advantage of the ACE, the Sher Policy will remain in-force irrespective of any
17   impact to Accumulation Value from the MDR Increases.
18          C.     Individualized Issues Like Those Raised by the Sher Family Trust
                   Clearly Demonstrate Why Class Certification Would Not Have Be
19                 A Foregone Conclusion
20          In the absence of TLIC’s agreement to class treatment for purposes of the
21   Settlement, in order to certify a class, plaintiffs would have needed to establish,
22   among other things, “questions of fact and law that are common to the class.” Ellis
23   v. Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011). As the Ninth Circuit
24   explained, the Supreme Court “emphasized that commonality requires that the class
25   members’ claims ‘depend upon a common contention’ such that ‘determination of
26   its truth or falsity will resolve an issue that is central to the validity of each [claim]
27   in one stroke.’” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 588 (9th Cir. 2012)
28   (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (alteration in
                                                     25
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 1   original)). “Put another way, the key inquiry is not whether the plaintiffs have
 2   raised common questions, ‘even in droves,’ but rather, whether class treatment will
 3   ‘generate common answers apt to drive the resolution of the litigation.’” Abdullah
 4   v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th Cir. 2013) (quoting Wal-Mart, 564
 5   U.S. at 350).
 6         The MDR Increases neither required policyowners with an active ACE to
 7   pay higher premiums nor affected their death benefit.9 A policyowner’s ability to
 8   avoid the impact of the MDR Increases through the ACE is but one of many ways
 9   in which a lack of common question with a common answer could have precluded
10   or severely limited class certification due to lack of commonality under Rule
11   23(a)(2) and due to lack of predominance under Rule 23(b)(3). Tyson Foods, Inc. v.
12   Bouaphakeo, –– U.S. ––, 136 S. Ct. 1036, 1045 (2016) (quoting Fed. R. Civ. P.
13   23(b)(3)) (Rule 23(b)(3) “requires that, before a class is certified under that
14   subsection, a district court must find that ‘questions of law or fact common to class
15   members predominate over any questions affecting only individual members.’”);
16   Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 623-64 (1997) (Predominance under
17   Rule 23(b)(3) “is a more demanding criterion than the commonality inquiry under
18   Rule 23(a),” but incorporates much of the same analysis.).
19         The Settlement avoids this risk for Plaintiffs, and permits all Settlement Class
20   Members to participate in the Settlement. The Sher Family Trust’s objections
21   merely provided a particular example of an individualized question that would have
22   lacked a common answer for the class writ large.
23         D.        The Sher Family Trust’s Specific Objections to the Settlement Are
                     Without Merit
24
                     1.    The Credit to the Class Members is Not De Minimis
25
26         The Sher Family Trust takes issue with the December 31, 2019 date used to

27   determine allocations of the Settlement fund. The Sher Family Trust does not

28         9
               See TransSurvivor Policy at Page ID#38-39 of 43.
                                                     26
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 1   believe that the amount of the Accumulation Value credit it will receive as a result
 2   of the Settlement is adequate as compared to its calculation of how much its
 3   Accumulation Value may be diminished in the future if the insureds live into their
 4   mid-nineties. But this is comparing apples to oranges, and should be disregarded
 5   for several reasons.
 6         First, the amount of additional MDs collected in the past is a known quantity
 7   that can be neutrally applied to fairly allocate the settlement fund among the
 8   Settlement Class. A date needed to be chosen to perform this allocation and to
 9   determine the status of each Policy as In-Force or Terminated. While selecting a
10   date other than December 31, 2019 may have modestly impacted the allocation of
11   the settlement fund among the Settlement Class Members, the Sher Family Trust
12   has not demonstrated why the allocation date chosen was unfair.
13         Second, while all involved are hopeful that Linda and Stanley Sher and many
14   other Settlement Class Members will be fortunate enough to live well into their late
15   90s, the potential that some insureds may experience the impact of MDRs at
16   advanced ages (as naturally occurs in all MDR tables) does not outweigh the benefit
17   of providing immediate benefits to the Settlement Class, and certainly does not
18   make the settlement unfair or unreasonable.
19         Finally, the Sher Family Trust has not shown that their perceived lack of
20   benefit from the Settlement is a sentiment generally shared by the Settlement Class
21   as opposed to simply being the result of their individualized circumstance and
22   perceptions. Owning a well-funded policy with an active ACE that is not
23   dependent on Accumulation Value to stay in force, the Sher Family Trust may not
24   perceive as much benefit from an increase to Accumulation Value and seven years
25   certainty around MDR rates as compared to the perceptions of others in the
26   Settlement Class.
27                2.      TLIC Will Not Recoup the Settlement Fund
28         The Sher Family Trust speculatively asserts that TLIC will recoup or already
                                                    27
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 1   has recouped the settlement fund through additional MDR increases. As addressed
 2   above, TLIC has not instituted additional MDR increases beyond those challenged
 3   in this litigation and resolved as part of the Proposed Settlement. Moreover, TLIC
 4   has agreed to a seven-year moratorium on additional MDR increases, unless
 5   directed to do so by a regulator. Finally, TLIC is limited in its ability to change
 6   rates by the policies, which state that “[a]ny change in the monthly deduction rates
 7   will be prospective and will be subject to our expectations as to future cost factors.”
 8   See TransUltra Policy at Page ID#18-19 of 51; TransSurvivor Policy at Page ID#20
 9   of 43. As such, even after the seven-year moratorium expires, TLIC would not
10   prospectively change rates to recoup the prior cost of settlement.
11
                  3.      The Seven Year Moratorium on MDR Increases for the
12                        Policies Provides Value to the Settlement Class
13         As noted above, the Sher Family Trust appears to conflate the yearly MDR
14   increases that occur naturally as part of an MDR schedule with the overall increase
15   to the MDR schedule that was challenged in this litigation. The Settlement
16   Agreement expressly states that TLIC will maintain the schedules put in place
17   through the challenged MDR Increases, and states that for seven years it will not
18   further raise MDRs unless directed to do so by a regulator. As shown with respect
19   to the Sher Policy, TLIC’s MDR Increases did not reach the guaranteed rates,
20   meaning that additional MDR increases would be possible in the absence of this
21   provision. As such, TLIC is compromising some of its rights under the Policies for
22   the benefit of the Settlement Class.
23         E.     TLIC’s Correspondence Was Accurate
24         The Sher Family Trust takes various issues with the customer service
25   responses it received from TLIC. While TLIC strenuously disagrees with the Sher
26   Family Trust’s mischaracterizations of these interactions, none of them are relevant
27   to the inquiry before the Court regarding the fairness and adequacy of the
28   Settlement. TLIC will therefore not exhaustively respond to those allegations
                                                    28
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 1   herein, other than with respect to the Sher Family Trust’s mischaracterization of the
 2   MDR Increase notice letters. The Sher Family Trust states that in these notices
 3   TLIC repeatedly “urged” it to surrender its policy and provided it “misleading
 4   doomsday scenarios.” ECF No. 166, at 1-2. This is simply not true, and no fair
 5   reading of these letters could interpret them as such. Indeed, the letters simply
 6   explained “What’s Changing and Why” along with explaining all of the
 7   policyowner’s “Options” associated with the policy. Id. at 12-13. This “Options”
 8   section simply described what was always available to the policyowner under the
 9   terms and conditions of the policy, which includes the option to surrender the
10   policy. Id. at 13. In no way was TLIC pressuring the policyowner to surrender.
11                                            CONCLUSION
12         For all the foregoing reasons, the Court should deny the Objections to the
13   Proposed Settlement asserted by Levi Katz and Angela Terry (ECF 164), John and
14   Philomena Vitale (ECF 165), and the Sher Family Trust (ECF 166).
15
     Dated: August 17, 2020                    MCDOWELL HETHERINGTON LLP
16
17                                             By: /s/ Jarrett E. Ganer
                                               Jarrett E. Ganer
18
                                               -and-
19
20                                             HINSHAW & CULBERTSON LLP

21                                             Attorneys for Defendant
                                               TRANSAMERICA LIFE INSURANCE
22                                             COMPANY
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